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                            No. 21-14396-G

               UNITED STATES COURT OF APPEALS
                  FOR THE ELEVENTH CIRCUIT
  ____________________________________________________________

                             Roland Edger

                           Plaintiff-Appellant

                                   v.

                         Krista McCabe, et al.

                       Defendants-Appellees
  ___________________________________________________________

               Appeal from the United States District Court
          Northern District of Alabama (No. 5:19-cv-01977-LCB)
          Honorable Liles C. Burke, United States District Judge
  ____________________________________________________________

               BRIEF OF PLAINTIFF-APPELLANT
  ____________________________________________________________

                                  s/ Henry F. (Hank) Sherrod III
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                                                            Edger v. McCabe, et al.
                                                                   No. 21-14396-G

               CERTIFICATE OF INTERESTED PERSONS
              AND CORPORATE DISCLOSURE STATEMENT

      The undersigned counsel of record for Appellant, Roland Edger, certifies that

the following persons or entities have an interest in the outcome of this case:

      1.     Burgess, C. Gregory - Counsel for Defendants/Appellees

      2.     Burke, Liles C. - U.S. District Court Judge

      3.     City of Huntsville, Alabama - Defendant/Appellee

      4.     Edger, Roland - Plaintiff/Appellant

      5.     Gushlaw, Stephanie M. - Counsel for Defendants/Appellees

      6.     Henry F. Sherrod III, P.C. - Law firm representing Plaintiff/Appellant

      7.     Lanier Ford - Law firm representing Defendants/Appellees

      8.     McCabe, Krista - Defendant/Appellee

      9.     Perillat, Cameron - Defendant/Appellee

      10.    Sherrod, Henry F. (Hank), III - Counsel for Plaintiff/Appellant

      11.    Smith, Lauren A. - Counsel for Defendants/Appellees

      No publicly traded company has an interest in the outcome of this case.




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             STATEMENT REGARDING ORAL ARGUMENT

      Appellant Roland Edger, the plaintiff below, requests oral argument. Edger

believes oral argument would assist the Court.




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                          PRELIMINARY STATEMENT

      This incident is recorded on video. The facts are not disputed in any material

respect. Neither is the law. The district court reviewed the video and the law and

concluded that there was not probable cause for Edger’s arrest but dismissed Edger’s

claims anyway. This was a false arrest, says the district court, but because of qualified

immunity, this is a false arrest for which there will be no legal accountability:

      The Court has pored over that footage, time and again, with the most critical
      eye permitted in accordance with law and the Federal Rules of Civil Procedure.
      And, the Court has concluded after each viewing, that Officers McCabe and
      Perillat didn’t meet the standards set out in the Huntsville Police Department’s
      mission statement. Those failings notwithstanding, that same bodycam footage
      shows that there’s no genuine issue of material fact in this case. While Edger
      certainly committed no crime, Officers McCabe and Perillat had arguable–and
      only arguable–probable cause to arrest him as to one offense. As such,
      Defendants are entitled to summary judgment. But just by a hair’s breadth.

[Doc.46 / Pg. 2]

      While Edger appreciates the district court’s diligence in reviewing the video,

Edger fears the glare of qualified immunity jurisprudence kept the district court from

seeing what was right before its eyes: an obviously unconstitutional arrest for which

there is no qualified immunity.




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                       STATEMENT OF JURISDICTION

      This is an appeal of a final judgment over which this Court has jurisdiction

pursuant to 28 U.S.C. § 1291 and Federal Rules of Appellate Procedure 3 and 4.

                        STATEMENT OF THE ISSUES

      1.     Whether a police officer could have reasonably believed Edger, a

mechanic working on a customer’s car in a church parking lot who offered to assist

officers in verifying who he was, was committing a crime.

      2.     Whether a police officer could have reasonably believed Edger violated

Alabama’s stop and identify statute by resisting an officer’s demand for an

identification card.




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                          STATEMENT OF THE CASE

I.    Nature of the Case

      Plaintiff Roland Edger was arrested by City of Huntsville, Alabama officers

and filed suit under 42 U.S.C. § 1983 alleging a constitutional violation (illegal

seizure / false arrest) and a violation of state law against the officers and a state law

claim against the city. This appeal challenges the district court’s granting of

defendants’ motions for summary judgment.

II.   Statement of Facts

      On June 10, 2019, at 8:05 p.m., a security guard at Progressive Union Baptist

Church in Huntsville, Alabama called to report that two Hispanic males were

“messing with” an employee’s car. He stated that they had taken a wheel off and were

under the car. [Doc.28-7, Tab 1 (911 call) / 0:00-1:02; Doc.28-3 (Calls for Service

Report) / Pg. 37] When asked if weapons were involved, the security guard noted that

they probably had a tire iron for taking the tire off. [Doc.28-7, Tab 1 (911 call) /

1:28-1:36] The security guard stated he just wanted an officer to check the subjects

out. [Doc.28-7, Tab 1 (911 call) / 3:24-28]

      The subjects were Roland Edger, the plaintiff, and his stepson, Justin Nuby.

Edger is a mechanic, among other things, and manages Auto Collision Doc in

Huntsville. [Doc.28-1 (Edger Dep.) / Pg. 17-20] One of Edger’s customers was the

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wife of a church employee. The customer left the car key for Edger in an envelope at

the front desk. At around 2:00 p.m., Edger went to the church and retrieved the key.

[Doc.28-1 (Edger Dep.) / Pg. 60-63] Edger then inspected the car and realized he

would need to return to the shop for additional tools. Edger pitched the envelope in

the car, locked the car, and then left, keeping the key in his possession. [Doc.28-1

(Edger Dep.) / Pg. 66-67]

      Edger, with Nuby to assist him, returned to the location before 8:00 p.m. and

started working on the car. [Doc.28-1 (Edger Dep.) / Pg. 68-70] After a few minutes,

Nuby informed Edger that a security car had shown up. [Doc.28-1 (Edger Dep.) / Pg.

80] The security car was actually a Huntsville Police Department cruiser driven by

defendant McCabe. [Doc.28-9, Tab 1 (McCabe Body Cam) / 20:36:23-37] McCabe

understood that the security guard called about someone working on a car and that

her job was to verify that. [Doc.28-9, Tab 1 (McCabe Body Cam) / 20:58:50-56]

      As Edger was facing the customer’s car with his back towards McCabe, Edger

heard defendant McCabe ask him what he was doing. Edger responded that he was

getting the car fixed, which he said was a customer’s car and gave the name (Ghosh

Patel). [Doc.28-9, Tab 1 (McCabe Body Cam) / 20:36:23-37] McCabe asked about

the car that was parked nearby, and Edger told her it was his. [Doc.28-9, Tab 1

(McCabe Body Cam) / 20:36:43-47]

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      McCabe watched Edger jacking up the car until the car fell off the jack, at

which time McCabe asked Edger and Nuby if they had driver’s licenses or IDs on

them. [Doc.28-9, Tab 1 (McCabe Body Cam) / 20:36:47-37:34] Edger was placed

under arrest less than 30 seconds after McCabe asked if Edger had ID on him.

[Doc.28-9, Tab 1 (McCabe Body Cam) / 20:37:34-37:55]

      Defendant Perillat arrived as McCabe was initially requesting Edger’s ID or

license. [Doc.28-9, Tab 1 (McCabe Body Cam) / 20:37:34; Doc.28-9, Tab 4 (Perillat

Body Cam) / 20:11:55-12:20] Rather than asking Edger his name, his employer, or

anything else to determine if there was any criminal activity afoot, McCabe demanded

that Edger provide his driver’s license. [Doc.28-9, Tab 1 (McCabe Body Cam) /

20:37:34-37:55] When Edger resisted providing an ID card and tried to get McCabe

to call the owner of the car, McCabe and Perillat placed Edger under arrest. [Doc.28-

9, Tab 1 (McCabe Body Cam) / 20:38:00-02; Doc.28-9, Tab 4 (Perillat Body Cam)

/ 20:11:55-12:20]

      This is the complete exchange that took place prior to the arrest:

      Nuby:         How you doing?
      McCabe:       Good. How are y’all doing?
      Nuby:         Pretty good . . . How you doing?
      McCabe:       What are y’all doing?
      Edger:        Huh?
      McCabe:       What are y’all doing?
      Edger:        Getting the car fixed.

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      McCabe:      Is this your car?
      Edger:       Yeah, Well, it is one of my customer’s.
      McCabe:      One of your customer’s?
      Edger:       Ghosh Patel, yep. I was over here earlier.
      McCabe:      Whose car is that?
      Edger:       That’s mine.
      McCabe:      The black one?
      Edger:       Yeah.
      Nuby:        You need me to do [inaudible]?
      Edger:       I’m trying to . . . I need you to hold it right there.
      McCabe:      Alright. Take a break for me real fast and do y’all have driver’s
                   license or IDs on you?
      Edger:       I ain’t going to submit to no ID right now. Listen, you call the
                   lady right now. Listen, I don’t have time for this. I don’t mean to
                   be mean, rude, or ugly, but
      McCabe:      Okay. No, you do need to give me your ID or driver’s license.
      Edger:       I don’t mean to be . . . No, I don’t. Listen, I don’t want you to run
                   me in for nothing.
      McCabe:      Are you refusing me, are you refusing to give me your ID or
                   driver’s license?
      Edger:       I’m telling you that if you will call this lady that owns this car ...
      McCabe:      Step over that way.

[Doc.28-9, Tab 1 (McCabe Body Cam) / 20:36:10-37:55; Doc.28-1 / Pg. 78-79

(McCabe Body Cam Transcript)]

      As the exchange shows, Edger only refused to provide a physical object, an ID

card, and never refused to provide any information. To the contrary, Edger tried to

assist the officers in confirming there was no crime, explaining what he was doing

and trying to get the officers to call the owner of the vehicle. [Doc.28-9, Tab 1

(McCabe Body Cam) / 20:36:10-37:55; Doc.28-1 / Pg. 78-79 (McCabe Body Cam



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Transcript)]

      After Edger did not immediately provide an ID card, Perillat and McCabe

handcuffed Edger. [Doc.28-9, Tab 1 (McCabe Body Cam) / 20:36:47-20:37:34)]

Edger then immediately agreed to provide his ID card. [Doc.28-9, Tab 1 (McCabe

Body Cam) / 20:38:00-02] The officers retrieved Edger’s ID from his wallet shortly

thereafter. [Doc.28-9, Tab 4 (Perillat Body Cam) / 20:14:20-29]

      McCabe never treated Edger’s statement as a refusal by Edger to provide his

name, only as a refusal to provide an ID card. [Doc.28-9, Tab 1 (McCabe Body Cam)

/ 20:36:10-37:55; Doc.28-1 / Pg. 78-79 (McCabe Body Cam Transcript) (“Okay. No,

you do need to give me your ID or driver’s license. . . . Are you refusing me, are you

refusing to give me your ID or driver’s license?”) (emphasis added)] Even then,

Edger did not flatly refuse to provide an ID card or otherwise cooperate. Instead,

Edger tried to help McCabe confirm there was no crime happening, stating, “I’m

telling you that if you will call this lady that owns this car . . .” [Doc.28-9, Tab 1

(McCabe Body Cam) / 20:36:10-37:55; Doc.28-1 / Pg. 78-79 (McCabe Body Cam

Transcript)]

      The officers stated or implied numerous times that Edger was arrested for

refusing to provide an ID card. [See, e.g., Doc.28-9, Tab 1 (McCabe Body Cam) /

20:41:45-42:04,    20:45:43-49,    20:45:58-46:06,       20:46:49-55,    20:51:28-37,

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20:51:55-52:02, 21:02:57-03:02, 21:03:30-34; Doc.28-9, Tab 4 (Perillat Body Cam)

/ 20:18:15-19:30, 20:25:10-28, 20:25:49-20:26:15]

III.   Course of Proceedings and Disposition in the Court Below

       On December 9, 2019, plaintiff Roland Edger filed this lawsuit against Krista

McCabe, a Huntsville, Alabama police officer, and the city. [Doc.1] McCabe and the

city answered on January 7 and 8, 2020. [Doc.6&7] Edger filed a first amended

complaint that added a second officer defendant, Cameron Perillat, on February 19,

2020. [Doc.13] Defendants answered on March 4, 2020. [Doc.14-17] Edger filed a

motion for partial summary judgment on December 28, 2020. [Doc.23] Defendants

filed motions for summary judgment on the same date. [Doc.24-30] The district court

granted defendants’ motions and denied Edger’s motion on November 18, 2021.

[Doc.46] Edger timely filed his notice of appeal on December 16, 2021. [Doc.49]

IV.    Standard of Review

       This Court reviews rulings on summary judgment de novo. Wood v. Kesler, 323

F.3d 872, 877 n.8 (11th Cir. 2003). Summary judgment is not appropriate except

where there exists no genuine issue of material fact and the movant is entitled to

judgment as a matter of law. Cummings v. DeKalb County, 24 F.3d 1349, 1354 (11th

Cir. 1994). On summary judgment, a court “must draw all reasonable inferences in

favor of the nonmoving party, and . . . may not make credibility determinations or


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weigh the evidence.” Reeves v. Sanderson Plumbing, Inc., 530 U.S. 133, 150 (2000).

A court gives credence to the “‘evidence favoring the nonmovant as well as that

evidence supporting the moving party that is uncontradicted and unimpeached, at

least to the extent that that evidence comes from disinterested witnesses.’” Id.

(citations omitted) (emphasis added); Ledbetter v. Goodyear Tire & Rubber Co., 421

F.3d 1169, 1177 (11th Cir. 2005) (quoting Reeves). A court considers the entire

record, but “disregard[s] all evidence favorable to the moving party that the jury is not

required to believe.” Reeves, 530 U.S. at 150; Ledbetter, 421 F.3d at 1177 (quoting

Reeves).

      This case involves video evidence. This Court, following the Supreme Court’s

decision in Scott v. Harris, 550 U.S. 372 (2007), reviews such evidence de novo.

Lewis v. City of West Palm Beach, 561 F.3d 1288, 1290 n.3 (11th Cir. 2009). When

a video recording blatantly contradicts a party’s testimony, it must be rejected on

summary judgment. Pourmoghani-Esfahani v. Gee, 625 F.3d 1313, 1315 (11th Cir.

2010) (per curiam) (“Where the video obviously contradicts Plaintiff’s version of the

facts, we accept the video’s depiction instead of Plaintiff’s account. . . . So, as we

must while reviewing the district court’s ruling on summary judgment, we have

credited Plaintiff’s version of the record evidence where no obviously contradictory

video evidence is available.”) (citing Scott, 550 U.S. at 380); see also Morton v.


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Kirkwood, 707 F.3d 1276, 1284 (11th Cir. 2013); Perez v. Suszczynski, 809 F.3d

1213, 1221 (11th Cir. 2016); Mathis v. Adams, 577 Fed. Appx. 966, 968 (11th Cir.

2014); Skelly v. Okaloosa County Bd. Of County Comm’rs, 415 Fed. Appx. 153, 154-

55 (11th Cir. 2011).




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                       SUMMARY OF THE ARGUMENT

      The district court looked at the facts (concerning reasonable suspicion) and the

law (concerning a citizen’s obligation to provide an identification card) and saw a

false arrest, just not one for which any person can be held accountable. The district

court got it wrong, however. The law of qualified immunity does not excuse an

obviously unreasonable arrest by law enforcement officers, and this Court should

reverse.

      Roland Edger was a mechanic working on a customer’s disabled car in a

church parking lot. He was committing no crime. When officers came to investigate,

it was obvious Edger was just what he seemed to be and was not committing a crime.

Despite lacking reasonable suspicion, the officers seized Edger by demanding that

Edger provide his driver’s license. When Edger resisted providing his driver’s

license, defendants arrested him for not providing it even though Alabama law is

clear that Edger was not required to provide his driver’s license because he was not

driving.

      Because the officers lacked even arguable reasonable suspicion and because,

even assuming reasonable suspicion, Alabama’s stop and identify statute does not

authorize officers to require a citizen not driving a car to produce an identification

card, the officers did not have arguable probable cause, the standard for qualified


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immunity in a § 1983 false arrest case, and this Court should reverse the district

court’s contrary holding.

      For similar reasons, the district court’s dismissal of Edger’s state law claim

should also be reversed.




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                                      ARGUMENT

I.       The District Court Erred in Concluding That the Officers Were Entitled
         to Qualified Immunity for Their False Arrest of Edger for Resisting
         Officers’ Demands That Edger, Who Was Obviously Just a Mechanic
         Working on a Customer’s Disabled Car, Produce an ID Card.1

         While “sufficient probability, not certainty, is the touchstone of reasonableness

of the Fourth Amendment,” Hill v. California, 401 U.S. 797, 804 (1971), “mere

suspicion is not enough,” United States v. Allison, 953 F.2d 1346, 1350 (11th Cir.

1992). Rather, the probable cause standard demands objective reasonableness under

the totality of the circumstances:

         Probable cause to arrest exists when an arrest is objectively reasonable based
         on the totality of the circumstances. Rankin v. Evans, 133 F.3d 1425, 1435
         (11th Cir. 1998). “This standard is met when ‘the facts and circumstances
         within the officer’s knowledge, of which he or she has reasonably trustworthy
         information, would cause a prudent person to believe, under the circumstances
         shown, that the suspect has committed, is committing, or is about to commit an
         offense.’” Id. (quoting Williamson v. Mills, 65 F.3d 155, 158 (11th Cir. 1995)).

Kingsland v. City of Miami, 382 F.3d 1220, 1226 (11th Cir. 2004). The facts and

circumstances analyzed are those “at the moment the arrest [is] made.” Dahl v.

Holley, 312 F.3d 1228, 1233 (11th Cir. 2002) (citations omitted) “. . . Fourth


     1
    This brief accepts the current state of the law in which officers can assert a
qualified immunity defense. Qualified immunity, however, is a judge-made doctrine
not tied to § 1983's statutory language or to the common law as it existed at the time
§ 1983 was enacted. Plaintiff expects that at some point the qualified immunity
doctrine will be overturned either by the Supreme Court or Congress. Plaintiff
reserves the right to seek further review and a change in the law.
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Amendment probable cause is a purely objective determination; the specific officer’s

subjective intent cannot be considered.” Jordan v. Mosley, 487 F.3d 1350, 1357 (11th

Cir. 2007).

      Officers are not “permitted to turn a blind eye to exculpatory information that

is available to them, and instead support their actions on selected facts they chose to

focus upon.” Kingsland, 382 F. 3d at 1228. A court on summary judgment must

consider all the information “tending to exculpate” the suspect that was available to

the arresting officer when the arrest was made. Cozzi v City of Birmingham, 892 F.3d

1288, 1297 (11th Cir. 2018).

      The right not to be arrested without probable cause was clearly established long

before this incident. See Kingsland, 382 F.2d at 1232; Rankin, 133 F.3d at 1435.

Nevertheless, a defendant is entitled to qualified immunity even in the absence of

probable cause to arrest so long as there was arguable probable cause. Kingsland, 382

F.2d at 1232; see also Mowell v. City of Milton, Georgia, 810 F. Appx. 799, 805

(11th Cir. 2020). “Whether an arresting officer possesses probable cause or arguable

probable cause naturally depends on the elements of the alleged crime and the

operative fact pattern.” Skop v. City of Atlanta, 485 F.3d 1130, 1137-38 (11th Cir.

2007) (citing Crosby v. Monroe County, 394 F.3d 1328, 1333 (11th Cir. 2004)).

      Below, defendants McCabe and Perillat claimed they had arguable probable


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cause to arrest Edger for obstructing governmental operations. To commit the offense

of obstructing governmental operations, a person must intentionally prevent a public

servant from performing a governmental function2 by either 1) intimidation, 2)

physical force or interference, or 3) an “independently unlawful act.” Ala. Code §

13A-10-2(a)(2); D.A.D.O. v. State, 57 So. 3d 798, 804 (Ala. Crim. App. 2009) (citing

statute commentary). Defendants contended that Edger’s failure to provide an ID card

constituted the independent unlawful act under two different Alabama statutes.

      Edger has no disagreement with the district court’s recitation of the facts.

[Doc.46. / Pg. 2-6] And Edger largely agrees with the district court’s legal analysis.

Edger agrees that he did not in fact or even arguably attempt to intimidate the

officers, use physical force, or physically interfere with the officers. [Doc.46. / Pg.

13-14, 19] Edger agrees that he was not in fact, or even arguably, driving a car and,

therefore, was not subject to the requirement, in Ala. Code § 32-6-9, that persons who

are “driving” provide a driver’s license upon demand. [Doc.46. / Pg. 15-17

(discussing Cantu v. City of Dothan, 974 F.3d 1217, 1223 (11th Cir. 2020) (person

sitting in driver’s seat was “driving” within meaning of Ala. Code § 32-6-9))] Finally,

Edger agrees that Ala. Code § 15-5-30, Alabama’s stop and identify statute, did not


2
  Edger does not dispute that defendants, in responding to the call and speaking with
him, were performing a governmental function. See Ala. Code § 13A-10-1(2), (3),
(7).
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require him to provide an ID card, only his name, if asked, and Edger was never asked

his name. [Doc.46. / Pg. 14-15] It is well established that stop and identify laws,

which are common throughout the country, do not require persons who are stopped

to provide an ID card or other documentation. See Hiibel v. Sixth Jud. Dist. Ct. of

Nevada, Humboldt Cnty., 542 U.S. 177, 182-83,185 (2004).

      Edger disagrees with the district court on only two points: (1) whether there

was arguable reasonable suspicion for an investigatory detention to justify the

demand for an ID card, and (2) whether, assuming there was reasonable suspicion,

officers had an arguable basis for believing Edger violated Ala. Code § 15-5-30 by

refusing to provide an ID card.

      A.     Because the Totality of the Circumstances Within the Knowledge of
             the Officers Did Not Even Arguably Support a Reasonable Belief
             That Edger Was Engaged in Criminal Activity, Edger Could Not Be
             Lawfully Arrested for Resisting Officers’ Demands for an ID card.

      “[A]n officer may, consistent with the Fourth Amendment, conduct a brief,

investigatory stop when the officer has a reasonable, articulable suspicion that

criminal activity is afoot.” Illinois v. Wardlow, 528 U.S. 119, 123 (2000) (citing Terry

v. Ohio, 392 U.S. 1, 30 (1968)). “While ‘reasonable suspicion’ is a less demanding

standard than probable cause and requires a showing considerably less than

preponderance of the evidence, the Fourth Amendment requires at least a minimal

level of objective justification for making the stop.” Id. (citing United States v.
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Sokolow, 490 U.S. 1, 7 (1989)).

      Officers have great freedom to engage in consensual encounters with citizens.

See Florida v. Bostick, 501 U.S. 429, 434 (1991) (stating that “a seizure does not

occur simply because a police officer approaches an individual and asks a few

questions”). But when an officer starts giving commands to a citizen that require

compliance, the encounter becomes a seizure that must be supported by reasonable

suspicion. See United States v. Heard, 725 Fed. Appx. 743, 751 (11th Cir. 2018)

(“[The officer]’s orders to Heard to keep his hands at his side or to raise his hands

were not requests but rather commands that clearly ‘convey[ed] a message that

compliance . . . [was] required.’ Bostick, 501 U.S. at 435. Thus, we analyze whether

the officers had reasonable suspicion at this moment in time . . ..”).

      In the absence of reasonable suspicion justifying the stop, a person approached

by an officer “need not answer any question put to him; indeed, he may decline to

listen to the questions at all and may go on his way.” Florida v. Royer, 460 U.S. 491,

497-98 (1983) (citing Terry, 392 U.S. at 32-33 (Harlan, J., concurring) and 34 (White,

J., concurring)). An individual “may not be detained even momentarily without

reasonable, objective grounds for doing so; and his refusal to listen or answer does

not, without more, furnish those grounds.” Id. at 498 (citing United States v.

Mendenhall, 446 U.S. 544, 556 (1980)). When considering whether officers had


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reasonable suspicion to conduct a Terry stop, a court cannot single out particular

factors; rather, it “must examine the totality of the circumstances.” United States v.

Lewis, 674 F.3d 1298, 1303 (11th Cir. 2012); Cf. District of Columbia v. Wesby, –––

U.S. ––––, 138 S.Ct. 577, 585-86, 588-89 (2018).

      Thus, Edger’s refusal to immediately provide ID cannot be used to justify the

seizure that occurred the moment McCabe demanded ID. It is clear that a citizen

cannot be lawfully arrested for refusing to comply with an unconstitutional demand.

See Morris v. Town of Lexington, 748 F.3d 1316, 1325 (11th Cir. 2014) (citing

Kentucky v. King, 563 U.S. 452, 470 (2011)).

      And even if Edger had failed to cooperate before ID was demanded, which he

did not, Bostick and Royer make clear non-cooperation is not enough for reasonable

suspicion. See Heard, 725 Fed. Appx. at 754 (“Here, though, Heard did not flee. He

was cooperative with the officers until he was asked for consent to search his person,

then he protested his innocence of any wrongdoing and indicated with gestures that

he did not wish to consent. To hold under these circumstances that Heard’s conduct

supplied reasonable suspicion would be to unreasonably narrow the ways in which

an individual can indicate his refusal to cooperate during a consensual encounter with

police. Neither Supreme Court caselaw nor our circuit precedent supports such a

narrowing. Indeed, to give proper effect to Bostick and Royer, we must allow


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individuals some meaningful opportunity to voice their objections through words and

gestures.”).

      While flight can support a finding of reasonable suspicion, that Edger did not

flee weighs heavily, in any objective analysis, against a finding of reasonable

suspicion. See United States v. Gray, 213 F.3d 998, 1001 (11th Cir. 2000).

      In the case of a Terry stop, an officer is entitled to qualified immunity if he has

“arguable” reasonable suspicion. Jackson v. Sauls, 206 F.3d 1156, 1166 (11th Cir.

2000). If there is no objective factual basis for the claim of reasonable suspicion,

there is no qualified immunity. Id. Whether a stop is made with arguable reasonable

suspicion is measured by a purely objective standard of what a reasonable officer in

the defendant’s position would have perceived. Young v. Eslinger, 244 Fed. Appx.

278, 279-80 (11th Cir. 2007).

      No reasonable jury can conclude the officers had even arguable reasonable

suspicion to believe Edger was committing a crime once they made contact with

Edger. The totality of the circumstances showed that no criminal activity was afoot.

While the security guard’s call certainly gave the officers a good reason to contact

Edger, after the officers observed Edger and Nuby and spoke with Edger, the totality

of the circumstances showed non-criminal activity, a mechanic working on the church

employee’s car. And nothing Edger and his stepson did when the officers contacted


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them indicated there was criminal activity afoot. They did not flee or otherwise act

suspicious. They answered questions. Edger confirmed the obvious and even tried to

assist the officers in contacting the customer. Instead of simply contacting the

customer or asking further questions, McCabe escalated the encounter by illegally

demanding that Edger and Nuby provide ID cards.

          The district court acknowledges that it is “clear” and “obvious” that the men

were replacing a tire. [Doc.46 / Pg. 11] Edger agrees. What was obvious to the district

court, would also have been obvious to a reasonable officer. Criminal activity was not

afoot, and defendant McCabe had no basis for initiating a seizure by demanding

Edger’s driver’s license. Because there was no basis for the seizure, there was no

basis for the arrest.

          B.    Even if the Officers Had Arguable Reasonable Suspicion, the
                Officers Did Not Have Arguable Probable Cause to Arrest Edger
                for Resisting Officers’ Demand for an ID Card Because Alabama,
                like Every Other State, Only Requires Drivers to Carry an ID Card.

          Even if there was arguable reasonable suspicion, there was no basis for the

arrest.

          Alabama law only authorizes officers who have reasonable suspicion to ask an

individual for his or her “name, address and an explanation of his actions.” Ala. Code




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§ 15-5-30.3 It says nothing about identification cards or driver’s licenses. Thus, the

district court recognized that Edger could not be required to provide an identification

card under this statute. [Doc.46. / Pg. 14-15] Nevertheless, the district court

concluded that a reasonable officer could read a driver’s license requirement into an

Alabama statute that clearly does not have one. [Doc.46 / Pg. 19 (“The undisputed

bodycam footage makes clear that McCabe didn’t ask Edger for his name, and Edger

didn’t refuse to explain his actions according to § 15-5-30. However, a reasonable but

mistaken officer could’ve believed that Edger’s failure to provide his driver’s license

violated Ala. Code § 15-5-30.”]

      Given the clarity of Alabama law on this issue, the district court erred in using

qualified immunity to excuse the officer’s obviously unlawful conduct.

II.   Because a Reasonable Jury Could Find That the Officers Lacked Probable
      or Arguable Probable Cause to Arrest Edger, the District Court Erred in
      Granting Defendants’ Motion for Summary Judgment on Edger’s State
      Law False Arrest Claim.

      Municipal police officers in Alabama are entitled to immunity under the same



 3
   The statute provides in full: “A sheriff or other officer acting as sheriff, his deputy
or any constable, acting within their respective counties, any marshal, deputy marshal
or policeman of any incorporated city or town within the limits of the county or any
highway patrolman or state trooper may stop any person abroad in a public place
whom he reasonably suspects is committing, has committed or is about to commit a
felony or other public offense and may demand of him his name, address and an
explanation of his actions.” Ala. Code § 15-5-30.
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terms as state agents, pursuant to the rules established in Ex Parte Cranman, 792 So.

2d 392, 405 (Ala. 2000). Ex Parte City of Tuskegee, 932 So. 2d 895, 903-04 (Ala.

2005). Under Cranman, as a general matter, there is no personal liability for officials

“exercising judgment in the enforcement of the criminal laws of the State, including,

but not limited to, law-enforcement officers’ arresting or attempting to arrest

persons.” 792 So. 2d at 405. As applicable here there are two exceptions to this

immunity, “(1) when the Constitution or laws of the United States . . . require

otherwise; [and] (2) when the [officer] acts willfully, maliciously, fraudulently, in bad

faith, beyond his or her authority, or under a mistaken impression of the law.” Id. If

an officer lacks arguable probable cause he is not entitled to immunity. Borders v.

City of Huntsville, 875 So. 2d 1168, 1180 (Ala. 2003).

       Because a reasonable jury can conclude the officers lacked arguable probable

cause to arrest Edger for the reasons stated above, the district court erred in granting

the officers’ motion for summary judgment on Edger’s state law claim.

III.   Because the Evidence Would Permit a Reasonable Jury to Conclude the
       Officers Acted Under a Mistaken Impression of the Law, the District
       Court Erred in Granting the City’s Motion for Summary Judgment on
       Edger’s State Law False Arrest Claim.

       In Borders, the Alabama Supreme Court addressed when municipalities, which

are only liable for negligence under Ala. Code § 11-47-190, can be sued for police

actions. Id. at 1182-84. The court distinguished malicious prosecution claims, which
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it held were inconsistent with negligence, from false arrest and excessive force

claims, which can be asserted consistent with negligence. Id. The court made clear

that a city can be held liable for false arrest if the fact pattern reflects negligence. Id.

at 1183-84.

       There is no question that a false arrest claim based on conduct that is clearly

willful, malicious, or in bad faith is inconsistent with negligence and properly

dismissed on summary judgment. See Brown v. City of Huntsville, 608 F.3d 724, 742-

43 (11th Cir. 2010). Edger’s claim here, however, is consistent with negligence. A

reasonable jury can conclude the officers had a “mistaken impression of the law” in

the language of Cranman. Because Edger’s evidence, unlike the evidence in Brown,

suggests a misunderstanding of the law, that evidence encompasses a negligence

claim, and the City is not immune as a matter of law. Borders, 875 So. 2d at 1183-84;

see also Franklin v. City of Huntsville, 670 So. 2d 848, 852 (Ala. 1995).

                                    CONCLUSION

       In summary, both the facts and the law are clear. Edger was a mechanic

working on a customer’s car, and no reasonable officer would have thought Edger

was committing a crime. The demand for Edger’s ID card converted a consensual

encounter into a seizure for which reasonable suspicion was required, which the

officers did not even arguably have. Even if defendants had arguable reasonable


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suspicion to believe Edger was committing a crime, because Edger was not driving,

they were not entitled to demand that Edger provide an ID card and could not

lawfully arrest Edger for refusing to provide an ID card.

      Accordingly, for the above-stated reasons, this Court should reverse the district

court’s order granting defendants’ motions for summary judgment. It may also be

appropriate for the Court to enter a judgment on liability in Edger’s favor on the §

1983 claim against the officers, though Edger did not appeal the denial of his motion

for partial summary judgment on that claim. There are no material facts in dispute.




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                                       Respectfully submitted,


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                      CERTIFICATE OF COMPLIANCE

       1.     This brief complies with the type-volume limitation of Fed. R. App. P.
32(a)(7)(B)(I) and 11th Cir. Local Rule 32-4. It contains 6,319 words, including the
parts of the brief exempted by Fed. R. App. P. 32(f) and 11th Cir. 32-4.

      2.    This brief complies with the typeface requirements of Fed. R. App. P.
32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6). It has been
prepared in a proportionally-spaced typeface using WordPerfect 2020 in 14-point
Times New Roman.


                                       s/ Henry F. (Hank) Sherrod III

                         CERTIFICATE OF SERVICE

      I hereby certify that on April 13, 2022, I caused the brief for appellant to be
served by ECF and arranged to have one paper copy served upon counsel of record.


                                       s/ Henry F. (Hank) Sherrod III




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